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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

     ROGER W. TITUS                                                                    6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                         GREENBELT, MARYLAND 20770
                                                                                              301-344-0052


                                           MEMORANDUM

       TO:            Counsel of Record

       FROM:          Judge Roger W. Titus

       RE:            United States of America v. Stanley Witherspoon
                      Criminal No. RWT-10-472-7

       DATE:          January 3, 2012

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              Before the Court is Defendant’s Motion to Continue Sentencing, Doc. No. 271, which the
       Government does not oppose. The Court, finding the request to be reasonable, grants the motion
       and the sentencing currently scheduled for January 3, 2012, is hereby RESCHEDULED for
       March 13, 2012 from 10:00 a.m. until 11:30 a.m.

               This is the third continuance asked for by the Defendant and granted by this Court. On
       July 6, 2011, Defendant filed a Motion to Continue Sentencing, Doc. No. 245, which this Court
       granted. Doc. No. 247. On November 14, 2011, Defendant filed a Second Motion to Continue
       Sentencing, Doc. No. 262, which this Court granted. Doc. No. 264. While the Court is
       cognizant of Defendant’s medical situation, Defendant is cautioned that the Court is unlikely to
       grant future continuances absent extreme circumstances.

               Despite the informal nature of this ruling, it shall constitute an Order of the Court, and the
       Clerk is directed to docket it accordingly.



                                                                      /s/
                                                      Roger W. Titus
                                                      United States District Judge
